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Attorneys for Defendant,
ARIZONA BEVERAGES USA LLC

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

MICHAEL DOTSON, individually and
on behalf of all others similarly situated,

Plaintiff,
V.

ARIZONA BEVERAGES USA LLC,

Defendant.

 

 

 

No. 2:22-CV-00923 SVW (MAAx)

DEFENDANT’S ANSWER TO THE
THIRD AMENDED CLASS ACTION
COMPLAINT AND AFFIRMATIVE
DEFENSES

Defendant, Arizona Beverages USA LLC (“ABU” or “Defendant’),

through its undersigned counsel, hereby answers Plaintiff's Third Amended Class

Action Complaint (Doc. No. 47, “Complaint”) as follows:

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DEFENDANT’S ANSWER TO THE THIRD AMENDED CLASS ACTION COMPLAINT
AND AFFIRMATIVE DEFENSES

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it Defendant denies any and all claims for liability including, but not
limited to, all claims for violations of state-wide consumer protection statutes,
and for any illegal, deceptive, unlawful and unfair practices. Defendant is
without knowledge or information sufficient to form a belief about the truth of the
remaining allegations contained in paragraph | of the Complaint.

Z Plaintiff's allegations in paragraph 2 of the Complaint are legal
conclusions to which no response is required. To the extent a response is
required, Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 2 of the
Complaint.

3. Plaintiff's allegations in paragraph 3 of the Complaint are legal
conclusions to which no response is required. To the extent a response is
required, Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 3 of the
Complaint.

4, Defendant is without knowledge or information sufficient to form a

belief about the truth of the allegations contained in paragraph 4 of the

Complaint.

5. Defendant denies the allegations contained in paragraph 5 of the
Complaint.

6. Defendant admits that it markets and sells beverages. Defendant

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denies the remainder of the allegations contained in paragraph 6 of the
Complaint.

7. Defendant admits that it markets and sells beverages, throughout
California and the United States, that include the name “AriZona” on the label.
Defendant denies the remainder of the allegations contained in paragraph 7 of
the Complaint.

8. Defendant denies all the allegations in paragraph 8 of the Complaint
that are premised upon an unspecified “Class Period” as alleged. Subject to that
denial, Defendant admits that the product referenced in the Complaint, “Georgia
Peach Green Tea With Ginseng & Peach Juice” (“the Product”), was labeled
“100% Natural” and contained dl-malic acid. Defendant denies the remaining
allegations contained in paragraph 8 of the Complaint including, but not limited
to, the allegations that the Product contained synthetic ingredients.

9, Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 9 of the
Complaint.

10. Defendant denies the allegations contained in paragraph 10 of the
Complaint.

11. Defendant denies the allegations contained in paragraph 11 of the
Complaint.

12. Defendant is without knowledge or information sufficient to form a

 

 

 

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belief about the truth of the allegations contained in paragraph 12 of the
Complaint.

13. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 13 of the
Complaint.

14. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 14 of the
Complaint.

15. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 15 of the
Complaint.

16. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 16 of the
Complaint.

17. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 17 of the
Complaint.

18. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 18 of the

Complaint.

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19. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 19 of the
Complaint.

20. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 20 of the
Complaint.

21. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 21 of the
Complaint.

22. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 22 of the
Complaint.

23. Defendant admits that the “photos” referenced at paragraph 23 of the
Complaint contain portions of the label of the Product. Defendant denies the
remaining allegations contained in paragraph 23 of the Complaint.

24. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in the first sentence of
paragraph 24 of the Complaint. Defendant denies the remaining allegations
contained in paragraph 24 of the Complaint.

25. Defendant is without knowledge or information sufficient to form a

belief about the truth of the allegations contained in paragraph 25 of the

 

 

 

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Complaint.

26. Defendant is without knowledge or information sufficient to form a

belief about the truth of the allegations contained in paragraph 26 of the

Complaint.

27. Defendant denies the
Complaint.

28. Defendant denies the
Complaint.

29. Defendant denies the
Complaint.

30. Defendant denies the
Complaint.

31. Defendant denies the
Complaint.

32. Defendant denies the
Complaint.

33. Defendant denies the
Complaint.

34. Defendant denies the
Complaint.

35. Defendant denies the

allegations contained in paragraph 27 of the

allegations contained in paragraph 28 of the

allegations contained in paragraph 29 of the

allegations contained in paragraph 30 of the

allegations contained in paragraph 31 of the

allegations contained in paragraph 32 of the

allegations contained in paragraph 33 of the

allegations contained in paragraph 34 of the

allegations contained in paragraph 35 and all

 

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subparts including paragraphs 35(a)-(c) of the Complaint.

36. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 36 of the
Complaint.

37. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 37 of the
Complaint.

38. Defendant denies the allegations contained in paragraph 38 of the
Complaint.

39. Defendant denies the allegations contained in paragraph 39 of the
Complaint.

40. Defendant denies the allegations contained in paragraph 40 of the
Complaint.

41. Defendant denies the allegations contained in paragraph 41 and all
subparts including paragraphs 41(a)-(h) of the Complaint.

42. Defendant denies the allegations contained in paragraph 42 of the
Complaint.

43. Defendant denies the allegations contained in paragraph 43 of the
Complaint.

44. Defendant denies the allegations contained in paragraph 44 of the
Complaint.

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45. Defendant denies the allegations contained in paragraph 45 of the
Complaint.

46. Defendant denies the allegations contained in paragraph 46 of the
Complaint.

47. Defendant denies the allegations contained in paragraph 47 of the
Complaint.

48. Defendant denies the allegations contained in paragraph 48 of the

Complaint.

PLAINTIFF’S FIRST CAUSE OF ACTION
(Violations of the California False Advertising Act)

49, Defendant repeats and reasserts its answers to the previous
allegations as if fully set forth herein at length.

50. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 50 of the
Complaint.

51. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 51 of the
Complaint.

52. Defendant denies the allegations contained in paragraph 52 of the
Complaint.

53. Defendant denies the allegations contained in paragraph 53 of the

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Complaint.

54. Defendant denies the allegations contained in paragraph 54 of the
Complaint.

55. Defendant denies the allegations contained in paragraph 55 of the
Complaint.

56. Defendant denies the allegations contained in paragraph 56 of the
Complaint.

57. Defendant denies the allegations contained in paragraph 57 of the
Complaint.

58. Defendant denies the allegations contained in paragraph 58 of the
Complaint.

59, Defendant denies the allegations contained in paragraph 59 of the
Complaint.

60. Defendant denies the allegations contained in paragraph 60 of the
Complaint.

PLAINTIFF’S SECOND CAUSE OF ACTION
(Violation of the California Unfair Business Practices Act)

61. Defendant repeats and reasserts its answers to the previous
allegations as if fully set forth herein at length.
62. Defendant denies the allegations contained in paragraph 62 of the

Complaint.

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63. Defendant denies the allegations contained in paragraph 63 of the
Complaint.

64. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 64 of the
Complaint.

65. Defendant denies the allegations contained in paragraph 65 of the
Complaint.

66. Defendant denies the allegations contained in paragraph 66 of the
Complaint.

67. Defendant denies the allegations contained in paragraph 67 of the
Complaint.

68. Defendant denies the allegations contained in paragraph 68 of the
Complaint.

69. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 69 of the
Complaint.

70. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 70 of the
Complaint.

71. Defendant denies the allegations contained in paragraph 71 of the
Complaint.

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72. Defendant denies the allegations contained in paragraph 72 of the
Complaint.

73. Defendant denies the allegations contained in paragraph 73 of the
Complaint.

74. Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 74 of the
Complaint.

75, Defendant denies the allegations contained in paragraph 75 of the
Complaint.

76. Defendant denies the allegations contained in paragraph 76 of the
Complaint.

771. Defendant denies the allegations contained in paragraph 77 of the
Complaint.

78. Defendant denies the allegations contained in paragraph 78 of the

Complaint.

PLAINTIFF’S THIRD CAUSE OF ACTION
(Violation of the California Consumer Legal Remedies Act)

79. Defendant repeats and reasserts its answers to the previous
allegations as if fully set forth herein at length.
80. Defendant denies the allegations contained in paragraph 80 and all

subparts including paragraphs 80(a)-(e) of the Complaint.

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81. Defendant admits receiving a letter from Plaintiffs counsel dated
January 7, 2022. Defendant denies the remainder of the allegations contained in
paragraph 81 of the Complaint including, but not limited to, all allegations
concerning the contents of that letter.

82. [Misnumbered paragraph 74, under the heading, “Miscellaneous,” in
the Complaint]. Defendant denies the allegations contained in paragraph 74 of
the Complaint.

83. [Misnumbered paragraph 75, under the heading, “Request for Jury
Trial,” in the Complaint]. Plaintiff's allegations in paragraph 75 of the Complaint
are legal conclusions to which no response is required. To the extent a response
is required, Defendant is without knowledge or information sufficient to form a
belief about the truth of the allegations contained in paragraph 75 of the
Complaint.

84. [Misnumbered paragraph 76, in the section “Prayer for Relief, in the
Complaint]. Defendant denies all allegations and claims for relief contained in
paragraph 76 and all subparts including paragraph 76(a)-(h) of the Complaint.

AFFIRMATIVE DEFENSES

FIRST AFFIRMATIVE DEFENSE
(Failure to State Claim)

L The Complaint, and each and every count or cause of action therein,

fails to state facts sufficient to constitute any claim or cause of action against

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Defendant.

SECOND AFFIRMATIVE DEFENSE
(Statute of Limitations)

2. Plaintiff's claims are time-barred to the extent that the alleged
conduct took place outside of the applicable limitations periods, which vary by

claim.

THIRD AFFIRMATIVE DEFENSE
(Estoppel)

3. Plaintiff and the putative classes he purports to represent are estopped
by their conduct or that of their agent(s), from recovering any relief by the
Complaint or any purported claim or cause of action contained therein.

FOURTH AFFIRMATIVE DEFENSE
(Waiver)

4. _ By their conduct, Plaintiff and the putative classes he purports to
represent have waived any right to recover any relief sought in the Complaint, or
any purported claim or cause of action alleged therein.

FIFTH AFFIRMATIVE DEFENSE
(Laches)

5. The Complaint is barred by the doctrine of laches.

SIXTH AFFIRMATIVE DEFENSE
(Primary Jurisdiction)

6. Some or all of Plaintiff's claims and causes of action are barred by the

doctrine of primary jurisdiction in that the Plaintiffs claims raise issues that
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should be addressed in the first instance by the United States Food and Drug

 

Administration.
SEVENTH AFFIRMATIVE DEFENSE
(Preemption)
7. Some or all of Plaintiffs claims and causes of action are preempted

by applicable federal law and/or federal regulations.

EIGHTH AFFIRMATIVE DEFENSE
(Lack of Standing)

8. Plaintiff and some or all of the putative classes he purports to

represent lack standing to assert the claims or causes of action asserted in the

 

Complaint.
NINTH AFFIRMATIVE DEFENSE
(Safe Harbor)
9, Some or all of the Plaintiff's claims and causes of action are barred by

the safe harbor doctrine.

TENTH AFFIRMATIVE DEFENSE
(Lack of CLRA Notice)

10. Some or all of the Plaintiffs claims and causes of action are barred
because of the failure to furnish notice as required under the Cal. Civ. Code §
1782.

ELEVENTH AFFIRMATIVE DEFENSE
(Good Faith under Cal Civ. Code § 1782)
11. Some or all of the Plaintiffs claims and causes of action are barred
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under the defense of good faith set forth in Cal Civ. Code § 1782(e).

TWELTH AFFIRMATIVE DEFENSE
(Adequate Remedy at Law)

12. The claims or causes of action of Plaintiff, which seek equitable
remedies and/or injunctive relief, are barred in light of the fact that Plaintiff has an
pled an adequate remedy at law exists.

THIRTEENTH AFFIRMATIVE DEFENSE
(Good Faith)

13. Any conduct or actions undertaken by or on behalf of Defendant
regarding the allegations in the Complaint, if any, were undertaken in good faith,
were reasonable, and lacked malice.

FOURTEENTH AFFIRMATIVE DEFENSE
(Superseding or Intervening Cause)

14. Defendant is informed and believes, and thereon alleges, that any and
all damages, if any, sustained by Plaintiff were proximately caused, contributed to
or aggravated by the acts or omissions of Plaintiff, or other persons or entities for
which Defendant is neither responsible nor liable. Said acts or omissions were an
intervening and/or superseding cause of damages, if any, thus barring Plaintiff
from any recovery against Defendant.

FIFTEENTH AFFIRMATIVE DEFENSE
(To the Extent Sought, Punitive Damages Are Not Recoverable)

15. Plaintiffs Complaint, to the extent that it seeks punitive or exemplary

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damages, violates Defendant’s right to protection from excessive fines as provided
in the Eighth Amendment of the United States Constitution and violates
Defendant’s right to substantive due process as provided in the Fifth and
Fourteenth Amendments of the United States Constitution and therefore fails to
state a claim upon which either punitive or exemplary damages can be awarded.

SIXTEENTH AFFIRMATIVE DEFENSE
(Unclean Hands)

16. Plaintiff's claims are barred by the doctrine of unclean hands.
SEVENTEENTH AFFIRMATIVE DEFENSE
(Voluntary Payment)
17. Plaintiffs claims are barred by the doctrine of voluntary payment.

EIGHTEENTH AFFIRMATIVE DEFENSE
(Conduct Not Unfair)

Some or all of Plaintiff's claims and causes of action are barred because
Defendant’s conduct was not unfair.

NINETEENTH AFFIRMATIVE DEFENSE
(Conduct Not Misleading and/or Fraudulent)

Some or all of Plaintiffs claims and causes of action are barred because the
conduct alleged was not likely to mislead and/or was not fraudulent.

TWENTIETH AFFIRMATIVE DEFENSE
(Reservation of Defenses)

18. Defendant has insufficient information available upon which to form

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a belief as to whether it has available additional, as yet unstated, affirmative
defenses. Defendant reserves the right to assert additional affirmative defenses in
the event discovery indicates they would be appropriate.

WHEREFORE, Defendant demands judgment as follows:

1. That Plaintiff and the putative classes take nothing by their
Complaint;

2. That Plaintiff's Complaint herein be dismissed in its entirety, with
prejudice;

a. That judgment be entered against Plaintiff and in favor of Defendant;

4. That Defendant recovers its costs of suit herein, including their
reasonable attorneys’ fees as allowed by law or statute; and

a: That the Court award such other and further relief as it deems
appropriate.

Dated: August 15, 2022 /s/ Robert P. Donovan
ROBERT P. DONOVAN

STEVENS & LEE

669 River Drive, Suite 201
Elmwood Park, New Jersey 07407
Telephone: (201) 857-6778
Facsimile: (201) 857-6761

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Attorneys for Defendant,
Arizona Beverages USA LLC

CERTIFICATE OF SERVICE

I hereby certify that on August 15, 2022, I electronically filed the above

document with the United States District Court for the Central District of

California by using the CM/ECF system. All participants in the case are

registered CM/ECF users who will be served by the CM/ECF system.

Dated: August 15, 2022

08/15/2022 SLI 1799666v1 115260.00006

/s/ Robert P. Donovan
ROBERT P. DONOVAN

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